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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION



STATE OF GEORGIA, et al.,                              No. 2:15-cv-00079 LGW-BWC

               Plaintiffs,
       v.

ANDREW R. WHEELER, in his official
capacity as Acting Administrator, U.S.
Environmental Protection Agency, et al.,

               Defendants.



  AGENCIES’ STATUS REPORT OF RELATED RULEMAKING AND LITIGATION

       Defendants the United States Environmental Protection Agency and Department of the

Army (“the Agencies”) provide the following status report to the Court regarding rulemaking

and litigation related to the 2015 Rule at issue in this case.

       1.      Rulemaking to Rescind the 2015 Rule. As the Court is aware, on February 28,

2017, the President issued an Executive Order directing the Agencies to review the 2015 “waters

of the United States” (“WOTUS”) Rule at issue in this litigation and to publish for notice and

comment a proposed rule rescinding or revising the rule, as appropriate and consistent with law.

82 Fed. Reg. 12,497 (Mar. 3, 2017). Consistent with the President’s directive, in July 2017 the

Agencies proposed to rescind the 2015 Rule. If finalized, this proposal would recodify the prior

regulatory definition of “waters of the United States,” promulgated by the Agencies in the late

1980s. “Definition of ‘Waters of the United States’−Recodification of Pre-Existing Rules.” 82

Fed. Reg. 34,899 (July 27, 2017). The Agencies issued a supplemental notice of proposed
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rulemaking to clarify, supplement and give interested parties an opportunity to comment on

certain important considerations and reasons for the agencies’ proposed rescission of the 2015

Rule. 83 Fed. Reg. 32,227 (July 12, 2018). The public comment period closed on August 13,

2018, and the proposal remains under consideration.

       2.      The Applicability Rule. In November 2017, the Agencies proposed and solicited

public comment on a rule that would postpone the application of the 2015 WOTUS Rule for two

years to “ensure that there is sufficient time for the regulatory process for reconsidering the

definition of ‘waters of the United States’ to be fully completed.” Id. 82 Fed. Reg. 55,542,

55,542-44 (Nov. 22, 2017). The Agencies took final action on the Applicability Rule on

February 6, 2018. 83 Fed. Reg. 5200 (Feb. 6, 2018). In that final rule, the Agencies found that

an applicability date of February 6, 2020, would serve the public interest by maintaining the pre-

2015 regulatory framework for a time so that only one regulatory definition of “waters of the

United States” will be applicable throughout the entire United States. See 83 Fed. Reg. at 5202.

The Applicability Rule has been challenged in five separate actions filed in four district courts.

Two district courts have granted summary judgment in favor of the plaintiffs in those cases and

have vacated or enjoined the Applicability Rule nationwide. South Carolina Coastal

Conservation League v. Pruitt, Case No. 2:18-cv-330 (D.S.C.), ECF No. 66 (Aug. 16, 2018) and

ECF No. 89 (Dec. 4, 2018); 1 Puget Soundkeeper Alliance v. Wheeler, Case No. 2:15-cv-1342

(W.D. Wash.), ECF No. 61 (Nov. 26, 2018). Litigation in the remaining challenges to the

Applicability Rule is ongoing. New York v. Wheeler, Case No. 18-cv-1030 (S.D.N.Y.)


1 The Agencies filed a notice of appeal on August 23, 2018. South Carolina Coastal
Conservation League v. Pruitt, Case No. 2:18-cv-330 (D.S.C.), ECF No. 73 (Aug. 23, 2018).
The Agencies also sought a stay of the South Carolina court’s judgment pending appeal, which
the court denied. Id. at ECF Nos. 70 (motion), 89 (order).
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(summary judgment motions pending); Natural Res. Def. Council v. EPA, Case No. 18-cv-1048

(S.D.N.Y.) (same); Waterkeeper Alliance, Inc. v. Wheeler, Case No. 18-cv-3521 (N.D. Cal.)

(case management conference scheduled for January 24, 2019). As a result of the Applicability

Rule litigation, the 2015 Rule is currently applicable in 22 states, the District of Columbia, and

territories of the United States (i.e., those states and territories in which there is no order

preliminarily enjoining the 2015 Rule).

        3.      Proposal for New Definition of “waters of the United States.”

        On December 11, 2018, agency officials signed for publication a proposal to revise the

definition of “waters of the United States” under the Clean Water Act. See Attachment 1 (pre-

publication version of proposed rule). The proposed definition would replace the approach in the

2015 Rule and the pre-2015 regulations. Under the Agencies’ proposal, traditional navigable

waters, tributaries to those waters, certain ditches, certain lakes and ponds, impoundments of

jurisdictional waters, and wetlands adjacent to jurisdictional waters would be federally regulated.

The proposal also details what are not “waters of the United States,” such as features that only

contain water during or in response to rainfall (e.g., ephemeral features); groundwater; many

ditches, including most roadside or farm ditches; prior converted cropland; stormwater control

features; and waste treatment systems. See Attachment 2 (Fact Sheet). The Agencies will take

comment on the proposal for 60 days after publication of the proposal in the Federal Register.

The Agencies will also hold an informational webcast on January 10, 2019, and will host a

listening session on the proposed rule in Kansas City, Kansas, on January 23, 2019.

        4.      Status of Other District Court Challenges to the 2015 Rule.

        This matter is one of several cases challenging the 2015 Rule. The chart below lists the

status of each of the pending cases, including this case:
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              Case Name                                              Status

Georgia v. Wheeler                                  summary judgment motions fully briefed; oral
Case No. 2:15-cv-79 (S.D. Ga.)                      argument scheduled for December 14, 2018
North Dakota v. EPA                                 summary judgment motions fully briefed;
Case No. 3:15-cv-59 (D.N.D.)                        motion for oral argument pending
Texas v. EPA                                        summary judgment motions fully briefed
Case No. 3:15-cv-162 (S.D. Tex.)
American Farm Bureau Fed’n v. EPA                   summary judgment motions fully briefed
Case No. 3:15-cv-165 (S.D. Tex.)
Texas Alliance for Responsible Growth, Env’t        stayed
& Transp. v. EPA
Case No. 3:18-cv-176 (S.D. Tex.)
Ass’n of American Railroads v. EPA                  answer filed
Case No. 3:15-cv-266 (S.D. Tex.)
Ohio v. U.S. Army Corps of Engineers                motion for preliminary injunction pending
Case No. 2:15-cv-2467 (S.D. Ohio)
Oklahoma v. EPA                                     motion for preliminary injunction pending;
Case No. 4:15-cv-381 (N.D. Okla.)                   status conference scheduled for December 21,
                                                    2018
Chamber of Commerce v. EPA                          motion for preliminary injunction pending;
Case No. 4:15-cv-386 (N.D. Okla.)                   status conference scheduled for December 21,
                                                    2018
Southeastern Legal Foundation, Inc. v. EPA          stayed
Case No. 1:15-cv-2488 (N.D. Ga.)
Southeast Stormwater Ass’n v. EPA                   stayed
Case No. 4:14-cv-579 (N.D. Fla.)
Puget Soundkeeper Alliance v. EPA                   stayed
Case No. 2:15-cv-1342 (W.D. Wash.)
Am. Exploration & Mining Ass’n v. EPA               case administratively closed; status report due
Case No. 1:16-cv-1279 (D.D.C.)                      May 7, 2019
Waterkeeper Alliance, Inc. v. Wheeler               case management conference scheduled for
Case No. 18-cv-3521 (N.D. Cal.)                     January 24, 2019


Dated: December 14, 2018                     Respectfully submitted,

                                              /s/ Martha C. Mann
                                             DANIEL R. DERTKE
                                             ANDREW J. DOYLE
                                             MARTHA C. MANN
                                             U.S. Department of Justice
                                             Environment and Natural Resources Division
                                             Environmental Defense Section
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                                             P.O. Box 7611
                                             Washington, D.C. 20044
                                             Telephone: (202) 514-2664 (Mann)
                                             Fax: (202) 514-8865
                                             daniel.dertke@usdoj.gov
                                             andrew.doyle@usdoj.gov
                                             martha.mann@usdoj.gov




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I caused a true and correct copy of the foregoing to be
electronically filed on December 14, 2018. All registered counsel are to receive notice of the
filing via the Court’s electronic case filing system.



                                                  /s/ Martha C. Mann
                                             MARTHA C. MANN
                                             United States Department of Justice
                                             Environment and Natural Resources Division




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